
On order of the Chief Justice, the motion to waive fees is considered and it is DENIED because MCL 600.2963 requires that a prisoner pursuing a civil action be liable for filing fees.
Appellant is not required to pay an initial partial fee. However, for the appeal to continue, within 21 days of the date of this order, appellant shall submit a copy of this order and refile the copy of the pleadings returned with this order as acknowledgement of his responsibility to pay the $375.00 filing fee. Failure to do so shall result in the appeal being administratively dismissed.
If appellant timely complies with this order, monthly payments shall be made to the Department of Corrections in the amount of 50 percent of the deposits made to appellant's account until the payments equal the balance due of $375.00. That amount shall then be remitted to this Court.
Pursuant to MCL 600.2963(8), appellant shall not file a new civil action or appeal in this Court until the entry fee in this case is paid in full.
The Clerk of the Court shall furnish two copies of this order to appellant and return a copy of appellant's pleadings with this order.
